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Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         Ignacio MEDRANO-SANCHEZ

Docket Number:                         1:03CR05237-002

Offender Address:                      McFarland, California

Judicial Officer:                      Honorable Anthony W. Ishii
                                       Chief United States District Judge
                                       Fresno, California

Original Sentence Date:                05/09/2005

Original Offense:                      21 USC 843(b) - Use of a Communication Facility in the
                                       Commission of a Drug-Trafficking Offense (two counts)
                                       (CLASS E FELONY)

Original Sentence:                     96 mos. BOP; 12 mos. TSR, $200 special assessment,
                                       mandatory urine testing

Special Conditions:                    Warrantless search, financial disclosure, drug
                                       testing/counseling, not to possess paging device or cellular
                                       phone without permission of the probation officer, co-
                                       payment and collection of DNA

Type of Supervision:                   Supervised Release

Supervision Commenced:                 07/01/2011

Assistant U.S. Attorney:               Kathleen A. Servatius                     Telephone: 599) 497-4000

Defense Attorney:                      David V. Balakian                         Telephone: 559) 495-1558

Other Court Action:                    None




                                                                                                                  R ev. 05/2008
                                                                                    V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                                                                    (M O D IFIC A T IO N ).M R G
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RE:     Ignacio MEDRANO-SANCHEZ
        Docket Number: 1:03CR05237-002
        PETITION TO MODIFY THE CONDITIONS OR TERM
        OF SUPERVISION WITH CONSENT OF THE OFFENDER




                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:


        1.       The defendant shall reside and participate in a residential community
                 corrections center, Turning Point for a period up to 120 days; said placement
                 shall commence as directed by the probation officer pursuant to 18 USC
                 3563(b) (11). The defendant shall pay the cost of confinement as determined
                 by the Bureau of Prisons.


        2.       The defendant shall abstain from the use of alcoholic beverages and shall not
                 frequent those places where alcohol is the chief item of sale.


Justification: On October 23, 2011, the releasee was arrested by the California Highway Patrol
for violation of California Vehicle Code Sections 23152(a) and (b), Driving Under the Influence of
Alcohol and Driving Under the Influence of Alcohol With Blood Alcohol Level of .08 Percent or
Higher. On November 16, 2011, the releasee appeared in Kern County Superior Court and pled nolo
contender to violation of California Vehicle Code Section 23152(a) and was sentenced to three years
court probation, $1,861 fine, 2 days custody and enroll in a DUI school. Said arrest was in violation
of the general condition not to commit another state, local, or federal crime. On November 29, 2011,
the releasee reported to the probation office as instructed and signed a Probation Form 49, Waiver
of Hearing to Modify Conditions of Supervised Release agreeing to reside and participate in a
residential re-entry center for a period not to exceed 120 days and to abstain from the use of alcoholic
beverages.




                                                                                                            R ev. 05/2008
                                                                              V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                   2                                          (M O D IFIC A T IO N ).M R G
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RE:    Ignacio MEDRANO-SANCHEZ
       Docket Number: 1:03CR05237-002
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER


                                    Respectfully submitted,

                                        /s/ Frank Esquivel

                                    FRANK ESQUIVEL
                           Senior United States Probation Officer
                                 Telephone: (661) 861-4354

DATED:        December 5, 2011
              Bakersfield, California
              FE:dk

                     /s/ Thomas A. Burgess
REVIEWED BY:
                     THOMAS A. BURGESS
                     Supervising United States Probation Officer



THE COURT ORDERS:

(X)    Modification approved as recommended.
( )    Modification not approved at this time. Probation Officer to contact Court.
( )    Other:

cc:    United States Probation
       Kathleen A. Servatius, Assistant United States Attorney
       David V. Balakian, Assistant Federal Defender
       Defendant
       Court File
IT IS SO ORDERED.

Dated:    December 6, 2011
0m8i78                                         CHIEF UNITED STATES DISTRICT JUDGE




                                                                                                      R ev. 05/2008
                                                                        V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                3                                       (M O D IFIC A T IO N ).M R G
